                   EXHIBIT F




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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 20-CIV-62335-RAR

 CHANEL, INC.,

        Plaintiff,

 v.

 CHANELBAGS.RU, et al.,

        Defendants.
                                                    /

          ORDER GRANTING PLAINTIFF’S EX PARTE MOTION FOR ORDER
             AUTHORIZING ALTERNATE SERVICE OF PROCESS ON
      DEFENDANTS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 4(f)(3)

        THIS CAUSE comes before the Court on Plaintiff’s Ex Parte Motion for Order

 Authorizing Alternate Service of Process on Defendants Pursuant to Federal Rule of Civil

 Procedure 4(f)(3) [ECF No. 6] (“Motion”). The Court having carefully reviewed the Motion, the

 record, and being otherwise fully advised, it is hereby

        ORDERED AND ADJUDGED that Plaintiff’s Motion [ECF No. 6] is GRANTED.

                                         BACKGROUND

        On November 17, 2020, Plaintiff, Chanel, Inc., filed a Complaint for Injunctive Relief

 and Damages [ECF No. 1], alleging that Defendants, the Individuals, Partnerships, and

 Unincorporated Associations identified in Schedule “A” attached to the Complaint are infringing

 Plaintiff’s trademarks and promoting, advertising, distributing, offering for sale, and selling

 counterfeits of Plaintiff’s branded products within the Southern District of Florida through the




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 operation of commercial Internet websites and supporting domains under various domain names
                                                                                       1
 (“Subject Domain Names”), as identified on Schedule “A” to Plaintiff’s Motion.

           Plaintiff contends that Defendants operate via the Internet and utilize electronic means as

 reliable forms of contact. See Declaration of Stephen M. Gaffigan [ECF No. 6-1] at ¶ 3.

 According to Plaintiff, it has good cause to believe that Defendants are all residents of China,

 Russia, or other foreign countries. See id. at ¶ 7. Plaintiff further contends that Defendants have

 at least one operational form of electronic contact, including e-mail, providing a reliable means

 of communicating with them. See id. at ¶¶ 3-5.

           Plaintiff   has   also   created   a    designated   serving   notice   website   located   at

 http://servingnotice.com/clu5t3r/index.html, where copies of the Complaint and all other

 documents on file in this action will be displayed. See id. at ¶ 6.

                                          LEGAL STANDARD

           Federal Rule of Civil Procedure 4(f)(3) allows a district court to order an alternate

 method of service to be effectuated upon foreign defendants, provided it is not prohibited by

 international agreement and is reasonably calculated to give notice to the defendants. See Fed.

 R. Civ. P. 4(f)(3); see also Brookshire Bros., Ltd. v. Chiquita Brands Int’l, Inc., No. 05-CIV-

 21962, 2007 WL 1577771, at *2 (S.D. Fla. May 31, 2007) (citing Prewitt Enters., Inc. v. Org. of

 Petroleum Exporting Countries, 353 F.3d 916, 921, 927 (11th Cir. 2003)) (“[D]istrict courts have

 broad discretion under Rule 4(f)(3) to authorize other methods of service that are consistent with

 due process and are not prohibited by international agreements.”) (alteration added).

                                                    ANALYSIS

           Service by e-mail and via posting on a designated website is not prohibited under

 international agreement in this case.            Although the United States, China, and Russia are

 1
     The complete list of domain names includes 34 domain names.


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 signatories to the Hague Convention on the Service Abroad of Extra-Judicial Documents in Civil

 and Commercial Matters, Nov. 15, 1965, 20 U.S.T. 361 (“Hague Convention”), the Hague

 Convention does not specifically preclude service of process via e-mail or by posting on a

 designated website.

        Where a signatory nation has objected to the alternative means of service provided by the

 Hague Convention, that objection is expressly limited to those means and does not represent an
                                                                           2
 objection to other forms of service, such as e-mail or website posting. Cf. Stat Med. Devices,

 Inc. v. HTL-Strefa, Inc., No. 15-20590-CIV, 2015 WL 5320947, at *3 (S.D. Fla. Sept. 14, 2015)

 (noting that an objection to the alternative forms of service set forth in the Hague Convention on

 the Service Abroad of Judicial and Extrajudicial Documents in Civil or Commercial Matters,

 Nov. 15, 1965, 658 U.N.T.S. 16, is limited to the specific forms of service objected to). A court

 acting under Rule 4(f)(3), therefore, remains free to order alternative means of service where a

 signatory nation has not expressly objected to those means. See Gurung v. Malhotra, 279 F.R.D.

 215, 219 (S.D.N.Y. 2011). Accordingly, service by e-mail or internet communication does not

 violate an international agreement.

        Further, e-mail and posting on a designated website are reasonably calculated to give

 notice to Defendants. Plaintiff cites a catalog of cases where courts have granted leave for a

 plaintiff to serve by e-mail (see Mot. 7-9 n.3; 11-13 n.5) and where courts have granted leave for

 a plaintiff to serve by website posting (see Mot. 10 n.4; 11-13 n.5) where, as here: (1) the

 defendants conducted their businesses over the Internet; (2) the defendants used e-mail regularly

 in their businesses; and (3) the plaintiff shows e-mail is likely to reach defendants. See Rio

 Props. Inc. v. Rio Int’l Interlink, 284 F.3d 1007, 1017−18 (9th Cir. 2002).


 2
  China and Russia have not expressly objected to service via e-mail or website posting. See Gaffigan
 Decl. ¶ 8, n.4.


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           Plaintiff has shown good cause for why leave should be granted to allow service of

 summonses, the Complaint, and all filings and discovery in this matter on Defendants via e-mail

 or posting on Plaintiff’s designated website. Thus, for the foregoing reasons, it is hereby

           ORDERED AND ADJUDGED that Plaintiff’s Motion [ECF No. 6] is GRANTED as

 follows:

           1.    Plaintiff may serve the summonses, Complaint, and all filings and discovery in

 this matter upon Defendants via e-mail by providing the address to Plaintiff’s designated serving

 notice website to Defendants via the e-mail addresses provided by each Defendant as part of the

 domain registration records for each of their respective domain names, including service via

 registrar, or directly on the Internet website operating under each of their respective

 corresponding domain names, including customer service e-mail addresses and onsite contact

 forms; or

           2.    Plaintiff may serve the summonses, Complaint, and all filings and discovery in

 this matter upon Defendants via website by posting a copy of the same on Plaintiff’s designated

 serving        notice      website       appearing        at       the       following        URL:

 http://servingnotice.com/clu5t3r/index.html.


           DONE AND ORDERED in Fort Lauderdale, Florida, this 18th day of November, 2020.




                                                      __________________________________
                                                      RODOLFO A. RUIZ II
                                                      UNITED STATES DISTRICT JUDGE




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